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 1
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 6   (Admitted Pro Hac Vice)
     Attorney for Plaintiffs, Robert Williamson, III and Vicki’s Vodka, LLC
 7
                              UNITED STATES DISTRICT COURT
 8
                                      DISTRICT OF NEVADA
 9
      ROBERT WILLIAMSON, III an                      BASE CASE NO.:
10
      individual, et al.                             2:13-cv-01019-JAD- GWF
11
                       Plaintiff,                    MEMBER CASE NO.:
12
                                                     2:13-cv-02022-JAD-GWF
             vs.
13
                                                     PLAINTIFF’S PROPOSED
14                                                   FINDINGS OF FACT AND
      VICTORIA L. GUNVALSON, an                      CONCLUSIONS OF LAW
15
      individual; DAVID BROOKS AYERS, an
16    individual, et al.
17                      Defendants.
18
      AND RELATED CROSS-ACTIONS
19

20

21
           A bench trial is to be held on June 15, 2021. Plaintiffs, Robert Williamson, III
22

23   and Vicki’s Vodka, LLC (“Plaintiffs”) are represented at trial by Mark Wesbrooks.

24   Defendant, Victoria Gunvalson, is represented by Michael Mazur. Plaintiffs are also
25
     seeking final default judgments against Defendants, Sweetwater Distillers, Inc. d/b/a
26

27
     Stillwater Spirits (“Sweetwater”) and Cougar Juice Vodka, L.L.C. (“CJ”).

28

                   PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 1
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 1
                                           STANDARD
 2
            During a bench trial, “[i]f a party has been fully heard on an issue . . . and the
 3

 4   court finds against the party on that issue, the court may enter judgment against the party

 5   on a claim or defense that, under the controlling law, can be maintained or defeated only
 6
     with a favorable finding on that issue.” Fed. R. Civ. P. 52(c). The Court’s judgment
 7

 8
     “must be supported by findings of fact and conclusions of law as required by Rule

 9   52(a).” Id. “In deciding whether to enter judgment on partial findings under Rule 52(c),
10
     the district court is not required to draw any inferences in favor of the non-moving party;
11

12
     rather, the district court may make findings in accordance with its own view of the

13   evidence.” Ritchie v. United States, 451 F.3d 1019, 1023 (9th Cir. 2006).
14
                               PROPOSED FINDINGS OF FACT
15
            The present case began as a consolidated action involving a variety of business-
16

17   related and personal claims among numerous parties.
18
            Complaint in Base Case
19
            On June 7, 2013, Robert Williamson, III (“Williamson”) filed the Complaint in
20

21   the base case, number 2:13-cv-01019-JAD-GWF, against Victoria Gunvalson
22
     (“Gunvalson”) and David Brooks Ayers (“Ayers”) for: (1) breach of contract; (2) breach
23
     of the covenant of good faith and fair dealing; (3) misrepresentations, fraud and
24

25   omissions; (4) unjust enrichment; (5) promissory estoppel; (6) civil conspiracy; and (7)
26   attorneys’ fees. On July 15, 2013, the Court dismissed Gunvalson from the Base Case.
27

28

                 PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 2
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 1
            On November 20, 2013, Ayers filed a Counterclaim and Third-Party Complaint
 2
     against Williamson, Cate Williamson (“C. Williamson”) and Angela Torres (“Torres”)
 3

 4   for slander. On November 19, 2014, all claims against Torres were dismissed [Doc. 52].

 5   by Court Order. The Court has dismissed all claims by and between Williamson and
 6
     Ayers, removing Ayers as a party from litigation. On October 23, 2018, the Court
 7

 8
     dismissed all claims between Ayers and Williamson, including Ayers claims against

 9   Cross-Defendant Cate Wakem-Williamson [Doc. 158].
10
           Complaint in Member Case
11

12
           On September 6, 2013, R. Williamson and Vicki’s Vodka, LLC, a Nevada

13   Corporation (“Vicki’s Vodka”) filed a Complaint in the member case, number 2:13-cv-
14
     02022-JAD-GWF, against Gunvalson, Ayers, Michael Nicholson (“Nicholson”), Cougar
15
     Juice Vodka, LLC (“CJ”), Sweetwater Distillers, Inc. (“SDI”), and Woo Hoo
16

17   Productions, LLC (“Woo Hoo”) for (1) breach of contract; (2) breach of the covenant of
18
     good faith and fair dealing; (3) misrepresentations, fraud and omissions; (4) unjust
19
     enrichment; (5) promissory estoppel; (6) civil conspiracy; (7) civil extortion (Ayers
20

21   only); (8) slander (Ayers only); (9) intentional infliction of emotional distress; (10)
22
     attorney’s fees; and (11) misappropriation and conversion of funds.
23
           Gunvalson’s And Nicholson’s Counterclaims
24

25          In Member Case On November 1, 2013, Gunvalson and Nicholson filed

26   counterclaims against R. Williamson and Vicki’s Vodka for (1) common law fraud; (2)
27
     breach of fiduciary duty; (3) unauthorized taking and retention of data (NRS 205.473 et
28

                PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 3
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 1
     seq.); (4) theft of data and breach of right of privacy, 18 U.S.C. § 2701 et seq.; (5)
 2
     unlawful activities concerning computers, NRS 205.4765 et seq.; (6) civil extortion; (7)
 3

 4   conversion; (8) intentional infliction of emotional distress; (9) unauthorized use of name

 5   and likeness, NRS 597.810; (10) Racketeer Influenced and Corrupt Organizations Act,
 6
     18 U.S.C. § 1961 et seq.; and (11) Racketeering, NRS 207.350 et seq. Nicholson has
 7

 8
     presented crossclaims against Williamson’s spouse, Cate-Wakem Williamson (“Cate”).

 9         Defaulting Parties
10
           As to Plaintiffs’ claims, Defendants Sweetwater and Cougar Juice defaulted.
11

12
     The Clerk of the Court has entered default with respect to such Defendants, with the

13   Court deferring entry of default judgment after presentation of evidence of Plaintiff’s
14
     damages through trial proceedings [See Doc. 194].
15
           Summary Judgment Rulings
16

17         On August 25, 2015, the Court made rulings, granting in part and denying in part,
18
     Gunvalson and Woo Hoo Productions, LLC’s Motion for Summary Judgment [Doc 82].
19
     The Court granted summary judgment against Williamson with respect to his claims for
20

21   unjust enrichment (Count IV), civil conspiracy (Count VI), and intentional infliction of
22
     emotional distress (Count IX), yet found triable issues of fact precluding summary
23
     judgment as to Williamson’s claims for breach of contract (Count I); breach of the
24

25   covenant of good faith and fair dealing (Count II); misrepresentations, fraud, and
26   omissions (Count III); and promissory estoppel (Count V).
27

28

                PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 4
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 1
           Findings of Fact based on Stipulations and the Evidence.
 2
            Victoria Gunvalson (“Gunvalson”) is a television celebrity, having appeared for
 3

 4   several years on the television show: “The Real Housewives of Orange County®”

 5   (“Housewives”). At relevant times, Gunvalson held the expectation and maintained
 6
     contractual rights to continue as a participant on the Housewives show, through her
 7

 8
     relationship with Bravo Network and others holding rights to such show. Incidental to her

 9   role in Housewives, Gunvalson has made public appearances and routinely provides
10
     interviews on television programs, including Bravo Media television show “Watch What
11

12
     Happens Live with Andy Cohen®.

13          Gunvalson is a well-known celebrity, having appeared as a regular cast member
14
     for over fourteen (14) years on Real Housewives of Orange County®, which is the
15
     majority of the Bravo Media series.
16

17          Plaintiff, Robert Williamson, III. (“Williamson”) has gained notoriety as a world-
18
     famous poker player, known as a celebrity for his high tournament winnings and notable
19
     appearances and hosting of television broadcast gaming shows. Williamson is
20

21   acknowledged as celebrity through the World Series of Poker and World Poker Tours.
22
     Williamson also has background and experience in business management and marketing,
23
     having owned and operated businesses throughout his career. Williamson has maintained
24

25   special relationships and contacts in the spirits marketing and distribution industry, and
26   through his connections in the gaming world. Williamson has experience and has been
27
     significantly involved in marketing and distributions of celebrity-associated products.
28

                PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 5
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 1
              Because of the special contacts, talents, and branding that Williamson and Vicki
 2
     possessed, they collectively agreed to form a business partnership that would ultimately
 3

 4   become known as Vicki’s Vodka™. Gunvalson introduced Williamson to spirits

 5   manufacturer, Michael Nicholson (“Nicholson”) who joined the venture, with that
 6
     Nicholson contributing a modified formula of his successful Cougar Juice Vodka, which
 7

 8
     Nicolson agreed would be contributed through design and recipe formula into the new

 9   Vicki’s Vodka brand.
10
              Williamson, Gunvalson, and Nicholson (“Members”) were the initial members of
11

12
     the venture, ultimately to become known as “Vicki’s Vodka.” Such Members initially

13   met in a conference room at the business center of Williamson’s condominium in Las
14
     Vegas, on June 3, 2012. The Members generated Minutes of the meeting documented
15
     their agreed ownership, commitments and expected obligations. A second meeting was
16

17   held between the Members on July 20, 2012. Additional Minutes of the meeting were
18
     generated further defining the agreed obligations of the Members. Such commitments
19
     included additional capital contributions by Williamson and negotiated public
20

21   appearances by Gunvalson, some of which would include Williamson as an attendee
22
     guest.
23
              Gunvalson, Williamson, and Nicholson formed an agreement in partnership, each
24

25   committing and being obligated to perform essential functions necessary for coownership
26   of the enterprise of Vicki’s Vodka to become a Brand with significant position in the
27
     marketplace and profits related thereto.      This formed association was within the
28

                  PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 6
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 1
     definition of partnership as defined by N.R.S. Sec. 87.060, being “an association of two
 2
     or more persons to carry on as co-owners a business for profit.” The association of the
 3

 4   three members was based upon Williamson providing capital and distribution channels,

 5   Nicholson providing formula, producing and blending of Vicki’s Vodka spirits, and
 6
     Gunvalson being the face of Vicki’s Vodka through her contribution of name, image,
 7

 8
     celebrity notoriety, which contemplated ongoing negotiation of marketing opportunities

 9   through her cast-member status on a Bravo Network’s televised programs.
10
          Vicki’s Vodka LLC (“Vicki’s Vodka”) was formed originally with Gunvalson
11

12
     owning 33%, Nicholson owning 33% and Williamson owing 34% member interests.

13        As Members of Vicki’s Vodka LLC, Gunvalson, Williamson, and Nicholson
14
     agreed to make substantial investments of time, money, and effort, as embodied in
15
     written documents and exchange of communications.
16

17        It was agreed that Robert Williamson would provide capital investments to fund
18
     product development, government approval and licensing, trademarking, design, and
19
     manufacturing costs to develop the products of Vicki’s Vodka. Over time, Williamson
20

21   made investments of funds to Vicki’s Vodka and paid expenses, including legal fees,
22
     totaling the sum of $465,796.52 to or on behalf of Vicki’s Vodka.
23
          Throughout late 2012 and 2013, meetings and public appearances were made by
24

25   Williamson and Gunvalson promoting Vicki’s Vodka products.             Williamson and
26   Gunvalson appeared on nationally broadcast episodes of Real Housewives of Orange
27
     County® (“Real Housewives”)and Watch What Happens Live with Andy Cohen®, where
28

                PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 7
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 1
     Williamson and Gunvalson were introduced and discussed Vicki’s Vodka products and
 2
     flavors.
 3

 4          Nicholson, on behalf of Cougar Juice (“CJ”) and Sweetwater Distilleries d.b.a.

 5   Stillwater Spirits (“Sweetwater”) agreed to distill and blend the vodka products of Vicki’s
 6
     vodka, with Sweetwater gaining licensing and controlling distribution of the sale of
 7

 8
     Vicki’s Vodka products for Vicki’s Vodka, L.L.C.

 9          Cougar, owned and controlled by Nicholson, is a blender and/or manufacturer of
10
     spirits, with Sweetwater engaging in licensing and distribution of product to hundreds of
11

12
     stores throughout specific states in the United States.

13         In 2012, Gunvalson and Nicholson provided to Williamson CPA-prepared sales
14
     forecast that Vicki’s Vodka would net over $8 million in sales with an annual net profit
15
     of $2.4 million by the third year (2015) of manufacturing, distribution, and marketing.
16

17         Pursuant to his commitment, Williamson made financial contributions and sought
18
     to develop relationships in the wholesale and retail distribution channels for distribution.
19
     Williamson sought agreements for distribution through Total Wine and More® having
20

21   distribution and retail stores throughout the continental United States.        Williamson
22
     attended public appearances with Gunvalson and Vicki’s Vodka products to promote the
23
     Brand. Gunvalson and Williamson obtained commitments from various casinos in the
24

25   Las Vegas area to carry Vicki’s Vodka as part of their inventory throughout Nevada.
26         Members of Vicki’s Vodka expressly and implicitly made promises and
27
     representations to other Members that they would dedicate their loyalties and best efforts
28

                 PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 8
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 1
     to perform their respective obligations and commitments for the common goal of Vicki’s
 2
     Vodka reaching consumers through retail sales in the U.S. vodka market.
 3

 4         At Nicholson’s request, Sweetwater applied for and procured label approval by the

 5   licensing authority.
 6
           As part of the members’ respective commitments, Nicholson, on behalf of CJ and
 7

 8
     Sweetwater, provided the recipe for Cougar, with modifications to establish the various

 9   flavors of Vicki’s Vodka. Such recipe was agreed to become and did in fact become the
10
     property of Vicki’s Vodka LLC.
11

12
           Vicki’s Vodka has labels, bottles, shipping boxes, and other artistic intellectual

13   property associated with the physical product were procured and paid for by Vicki’s
14
     Vodka and Williamson, approved by licensing authorities to be utilized in the marketing
15
     and sale of Vicki’s Vodka products. The Vicki’s Vodka website was finalized and
16

17   approved by Gunvalson, whose likeness and persona were the unique key component to
18
     the product line.
19
           A dispute arose between Nicholson and other Vicki’s Vodka members, resulting in
20

21   Nicholson voluntarily surrendering his member interest back to Vicki’s Vodka,
22
     ultimately resulting in Williamson and Gunvalson holding equal 50% interests in Vicki’s
23
     Vodka. Thereafter, Gunvalson transferred part of her interest (a 16.66% interest) to her
24

25   then boyfriend, David Brooks Ayers (“Ayers”) who, in March 2013, sold all his interest
26   to Williamson for the sum of $50,000.00. This transfer of interest resulted in Williamson
27
     holding 66.66% of Vicki’s Vodka with Gunvalson holding 33.33% of the company.
28

                 PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 9
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 1
           Vicki’s Vodka produced first run/shipments of Vicki’s Vodka generating thousands
 2
     of bottles of vodka are ready to be delivered to retail shelves.
 3

 4         Gunvalson, Williamson, and Vicki’s Vodka engaged in a campaign of public

 5   promotion, which included entering the product into the San Francisco International
 6
     Spirits Competition, whereby the product won a Silver Award, and entering the product
 7

 8
     into the Beverly Hills International Spirits Competition, where it won the Gold Award for

 9   flavor and design,
10
           Williamson and Vicki’s Vodka undertook efforts to gain compliance of labeling
11

12
     requirements, including actual label approval, through the United States Treasury

13   Department, which caused Williamson to incur significant funds, in addition to his time
14
     and effort in label development and approval. Final approval was provided with respect
15
     to labels for the regular flavor blend and orange flavor blend of Vicki’s vodka.
16

17         26,000 empty bottles were imported from China, ready to be filled and capped as
18
     Vicki’s Vodka as well as over 1000 gallons of vodka being produced, with Williamson
19
     making payment for the products and blending. Each bottle and box had a photograph of
20

21   Gunvalson’s likeness, associating her unique identity with the Brand.
22
           Williamson and Vicki’s Vodka arranged, through Gunvalson, for a launch party to
23
     occur at Gunvalson’s home and to be broadcast on Housewives. Video footage was
24

25   taken of the first product launch, documenting the first bottle of Vicki’s Vodka of to be
26   produced from the distillery. Williamsons and Gunvalson made appearances for such
27
     footage with both events being broadcast on episodes of Real Housewives.
28

                PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 10
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 1
           Vicki’s Vodka was mentioned and promoted throughout television and print outlets
 2
     covering Gunvalson and the product line throughout Winter and Spring of 2013.
 3

 4   Promotional launching events were scheduled, including the Housewives’ Season 12

 5   Finale with filming in the back yard of Gunvalson’s home in Orange County, California.
 6
            Bravo Network permitted the brand of Vicki’s vodka to be discussed and
 7

 8
     integrated into the Real Housewives of Orange County television series, permitting

 9   broadcasts with the Vicki’s Vodka being discussed, promoted and displayed as part of the
10
     content of such television show.
11

12
            Over considerable time, Williamson dedicated great time and expense in

13   undertaking to develop the Vicki’s Vodka in development and branding of various
14
     products, including various flavors of vodka. Much time was expended in selection of the
15
     bottle design, graphics, website, retail brand of products, and in establishing relationships
16

17   with retailers (expanded distribution) who would agree to promote and sell Vicki’s
18
     Vodka products to consumers.
19
            When a personal dispute arose between Williamson and Gunvalson concerning
20

21   Gunvalson’s boyfriend, Ayers, on or about May 10, 2013, Gunvalson, through her
22
     counsel, Richard Brull, provided a cease-and-desist notice that Gunvalson no longer
23
     authorized her name, likeness or voice to be used in connection with Vicki’s Vodka.
24

25   Gunvalson’s demand halted production and flow of product to market. Approximately
26   four weeks later, on June 7, 2013, Williamson filed the Base-Case in this Division.
27

28

                PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 11
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 1
            Within weeks of the filing of the Base Case, on or about July 15, 2013, Gunvalson
 2
     and Williamson reached a Settlement embodied in a signed Settlement Agreement.
 3

 4   Gunvalson represented through such document that she would undertake effort to again

 5   market and sell Vicki’s Vodka products.           Following the Settlement Agreement,
 6
     Williamson dismissed his claims against Gunvalson and her production company Woo
 7

 8
     Hoo Productions (“Woo Hoo”) from the Base Case.

 9          Gunvalson executed the Settlement Agreement while in Andy Cohen’s studio in
10
     New York, N.Y. Both Gunvalson and Williamson appeared together on the show to
11

12
     promote the product and to inform the viewing audience that all disputes had been settled

13   between them.      Following the live television show appearance, Williamson and
14
     Gunvalson spent the evening together having dinner, and celebrating with others present.
15
            Following the foregoing events, through representatives, Gunvalson again
16

17   communicated a cease and desist refusing to allow Vicki’s Vodka to move forward using
18
     her likeness. Thereafter, the Member litigation was filed, which was ultimately
19
     consolidated into the Base case.
20

21          Gunvalson was the face of Vicki’s Vodka, and an essential nonreplaceable asset to
22
     the partnership enterprise. Gunvalson continued to refuse to allow her likeness to be used
23
     in connection with promotion and sale of Vicki’s Vodka products.
24

25          Bottled Vicki’s Vodka brand vodka were not delivered to wholesaler and retailers
26   because of the unresolved dispute that has continued through the trial of this action.
27

28

                PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 12
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 1
            II.     Conclusions of Law.
 2
            Defendants Sweetwater and Cougar.
 3

 4          Despite being properly served with the Summons and Complaint in accordance

 5   with the Federal Rules of Civil Procedure, and despite multiple mailings and notices
 6
     regarding filings and scheduling of prior hearings related to default proceedings, Cougar
 7

 8
     and Sweetwater have wholly made default, having not filed required responsive

 9   pleadings. The only issue with respect to such Defendants is the amount and measure
10
     of damages.
11

12
            Cougar was personally served on November 12, 2013. (See Motion for Entry of

13   Clerk’s Default, Exhibit A, Affidavit of Service [Doc. 160]). On December 6, 2013,
14
     Plaintiffs filed their first Motion for Entry of Clerks Default (Doc. 8) and the Clerk
15
     entered the default on December 9, 2013 (Doc. 10). On December 13, 2013, Defendant
16

17   Cougar Juice Vodka, LLC filed its Motion to Set Aside Clerk’s Entry of Default (Doc.
18
     11). On February 14, 2014, the Court granted Defendant Cougar Juice Vodka, LLC’s
19
     Motion to Set Aside the Clerk’s Default and ordered an Answer be filed within 10 days.
20

21   (Doc. 25) As of the date of this filing, Despite the Court vacating the Clerk’s first Entry
22
     of Default, Defendant Cougar Juice Vodka, LLC has not plead or otherwise defended
23
     the Complaint.
24

25          Sweetwater was personally served on November 12, 2013. See Exhibit A,
26   Affidavit of Service. On December 6, 2013, Plaintiffs filed their First Motion for Entry of
27
     Clerks Default (Doc. 9) and the Clerk entered the default on December 9, 2013 (Doc. 10).
28

                  PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 13
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 1
     As of the date of this filing, Sweetwater has not plead or otherwise defended the
 2
     Complaint.
 3

 4            The only issue as to defaulting defendants is the measure of Plaintiff’s damages.

 5            Agreements, Promises, and Partnership Obligations.
 6
              The Complaint alleges partnership agreements with the purpose of producing,
 7

 8
     marketing and selling the product line of vodka spirits under the trademarked name of

 9   “Vicki’s Vodka.” It is alleged that from the time of formation, there were three agreed
10
     owners, each of which who would hold relatively equal ownership of the later formed
11

12
     business enterprise, Vicki’s Vodka LLC. 1 The Complaint alleges an agreement for co-

13   ownership of a business for profit with covenants and agreements by each of the three
14
     members/partners. The evidence received by Court is sufficient to establish partnership
15
     formation and accompanying duties of loyalty prescribed by law.
16

17            Breach of Contract
18
              The Complaint alleges a breach of contract on the part of Gunvalson. Contract is
19
     supported by numerous writings and expression of agreements as to the role of partners
20

21   in the established partnership.              By establishing the respective commitments of the
22
     members in forming partnership through co-ownership, breaches may be established.
23
     Partnership obligations were established through writings and testimony, from which the
24

25   Court may find breaches of such material agreements and loyalties of members.
26

27
     1
          RW III later purchased the additional interest transferred by Gunvalson to her boyfriend, Ayers, causing his
28
     total member interest to be 66.66% of the total business.
                   PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 14
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 1
           In a diversity case, generally a federal court will apply the substantive law of the
 2
     forum state, in this case, Nevada. Erie R.R. v. Tompkins, 304 U.S. 64, 58 S. Ct. 817, 82
 3

 4   L. Ed. 1188 (1938).       N.R.S. 87.060 defines a partnership as “a partnership is an

 5   association of two or more persons to carry on as co-owners a business for profit.” The
 6
     Complaint adequately alleges agreements sufficient to state a cause of action for breach
 7

 8
     of such agreements, breach of promises, and promissory estoppel / reliance-based

 9   remedies.
10
           Promissory Estoppel and Reliance
11

12
           Based upon the promises and agreements made, Plaintiff Williamson moved

13   ahead with the business of Vicki’s Vodka (Complaint, para. 17), expending substantial
14
     funds in excess of $300,000.00. 2 (Complaint, para. 19). The Complaint alleges that
15
     “[Williamson] has fully conformed to and complied with each and every term,
16

17   condition, provision and obligation required to be performed under and pursuant to the
18
     terms of the agreements.” (Complaint, para. 68). The material promises were made as
19
     inducements to the transaction, which caused Plaintiff [Williamson] to expend
20

21   $465,796.59 in reliance upon the promises of Gunvalson. The Complaint alleges, and
22
     the evidence supports, that Williamson paid such monies in addition to extraordinary
23
     commitment of time, effort, and energy for purposes of seeing the value of his
24

25   investment. Evidence received by the Court supports a finding that the investment ended
26   with Gunvalson ordering a cease and desist in allowing her name and likeness to be used
27

28
     2     Actual out-of-pocket expenses were in the amount of $465,796.59.

                 PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 15
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 1
     after substantial funds and efforts had been expended by Williamson. The importance
 2
     of Gunvalson’s ongoing efforts to promote the products of Vicki’s Vodka™ is
 3

 4   highlighted by the terms of the July 15, 2013, Settlement Agreement, wherein her

 5   commitments were restated.
 6
            Sufficient evidence is provided that Williamson acted to his detriment in
 7

 8
     contributing his time, toil, money and effort towards the project, and that he relied on

 9   multiple promises and assurances of Gunvalson, including her commitment to allow her
10
     likeness and name to be associated with the product in exchange for her percentage
11

12
     ownership. Threats to end the project by her refusal to allow her likeness unless

13   Williams renegotiated ownership and control terms after Gunvalson transferred away
14
     one-third of her interest to her boyfriend, was an anticipatory breach that would cause
15
     any reasonable co-owner to believe that further efforts of time, money and effort would
16

17   be futile.
18
            Gunvalson is liable to Williamson under the doctrine of promissory estoppel.
19
            Williamson is entitled to recover actual compensatory losses proven, in addition
20

21   to the expectation value of his investment.
22
            Evidence was received by the Court establishing a reasonable probability that the
23
     product / investment would have achieved status as demonstrated through other, not only
24

25   similar, but mirror image product lines of other cast members of the Bravo Housewife
26   Series. Persuasive credible evidence received by the Court suggests that the value of the
27
     investment, but for the neglects, breaches, and default, would reasonably be in the sum
28

                  PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 16
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 1
     today of $64,000,000.00, with the value of Williamson’s investment as two-thirds owner
 2
     to be in the sum of $42,666,666.66.
 3

 4         Fraud and Misrepresentation

 5         Fraud and misrepresentation causes of action are alleged that various paragraphs
 6
     of the Complaint (i.e. Amended Complaint paragraphs 47, 80 through 85. The
 7

 8
     Complaint alleges false statements of material fact which Williamson relied upon to his

 9   detriment (paragraph 47 and its subparts). Furthermore, the Complaint alleges at
10
     “COUNT III (Misrepresentations, Fraud and Omissions against All Defendants)” that
11

12
     “all of the misrepresentations and omissions set forth above were made to Plaintiffs and

13   relied upon by Plaintiffs in making the purchase and investment described herein by
14
     [Williamson]” (Complaint, para. 81). Furthermore, the Complaint alleges that such
15
     misrepresentations and omissions were material and caused Plaintiffs to be misled about
16

17   the true nature of the investment. “Plaintiffs relied in good faith on the
18
     misrepresentations and omissions to his detriment.” (Complaint, paragraph 82). It was
19
     alleged against all Defendants, that “the Defendants knew or should [have known] that
20

21   such representations were false. (sic)” (complaint, para. 83). It is further alleged that
22
     such inducement caused plaintiff to expend funds in excess of $300,000. (Complaint
23
     para. 85). Furthermore, the Complaint specifically seeks all compensatory, incidental
24

25   damages and punitive damages recoverable by law as may be shown through the
26   evidence.
27

28

                 PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 17
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 1
           Unjust Enrichment.
 2
           The Complaint alleges, at COUNT IV (Unjust Enrichment as Against All
 3

 4   Defendants), that Plaintiff complied with each and every term, condition, provision,

 5   obligation, and covenant required to be performed by them under the Agreements.
 6
     (Complaint, paragraph, 88), and that the result of conduct on the part of the Defendants
 7

 8
     caused them to become unjustly enriched to sums that may be established by the

 9   evidence. Complaint, (Paragraphs 87 to 91). Gunvalson has expended efforts she
10
     contracted to be for the benefit of Vicki’s Vodka for other products and to the financial
11

12
     reward of other investors profiting from her status as cast-member to the financial

13   detriment of Williamson and Vicki’s Vodka, L.L.C.
14
           Plaintiffs’ Damages.
15
           Plaintiff has met his burden of proof that but for neglects, defaults, and breaches,
16

17   there would have more likely than not been a viable company of Vicki’s Vodka LLC
18
     and its intellectual property products. The product was developed, marketed, and
19
     promoted up to the point where Defendants are alleged to have committed breaches and
20

21   tortious acts causing failure and cessation of Vicki’s Vodka as a viable company. The
22
     evidence supports the finding that, but for Defendants’ neglects and defaults, Vicki’s
23
     Vodka spirits would have been marketed, distributed and sold through viable business of
24

25   Vicki’s Vodka. The evidence supports the claim that Plaintiff, who performed his
26   obligations and commitments as part of the agreement, was deprived of his investment
27
     because of refusal on the part of Gunvalson to perform her agreed obligations, that were
28

                PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 18
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 1
     exclusively within her control. Given the unique identity of the products in the Vicki
 2
     line, there would be no viable replacement option for Williamson and Vicki’s Vodka to
 3

 4   replace or cover damages through other means. The evidence supports that Gunvalson

 5   and her then boyfriend, Brooks Ayers, induced Williamson to invest through providing
 6
     Nicholson and Sweetwater’s projected Sales Projections, projecting to Williamson that
 7

 8
     the Vicki’s Vodka project would net over $2.4 million per year by the third year of

 9   production and distribution of vodka products (2015), with rising net profits thereafter,
10
     given Gunvalson’s celebrity and Nicholson/Sweetwater’s established distribution
11

12
     channels utilized with other liquor spirits in its distribution chain.

13          Expert analysis and data received in evidence, using a model industry analysis of
14
     an almost identical spirit product launched through the same channels, with marketing
15
     and promotion on the Bravo Network’s New Jersey Housewives series, was compelling
16

17   in understanding the value of the investment.
18
            Plaintiff lost the value of his investment.            Plaintiff has established that
19
     Gunvalson’s actions and refusal to allow her involvement was the cause of derailment
20

21   and destruction of the Vicki’s Vodka project. The evidence reveals that thousands of
22
     Vicki’s Vodka products in three flavors were blended, bottled, and ready for
23
     distribution.
24

25          Vicki’s Vodka’s product was brought to a full culmination of a marketable and
26   distributable product. It is reasonable to assume based upon the credible evidence
27
     received that, but for the defaults, breaches, and tortious conduct on part of Gunvalson.
28

                 PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 19
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 1
     Vicki’s Vodka would have launched and been in full distribution providing the parties a
 2
     full expectation of monetary benefits.
 3

 4          The evidence supports the finding that Williamson paid for design, logos,

 5   trademarking, attorney fees for licensing and distribution, transportation, storage of
 6
     product, batches of vodka bottled for distribution prior to breaches, in addition to his
 7

 8
     time labor and efforts in fulfilling his role on behalf of Vicki’s Vodka. The evidence

 9   supports the finding that Vicki’s Vodka would have been a viable product and valuable
10
     intellectual property, which the evidence supports would in reasonable probability have
11

12
     had a present value of $61,000,000.00, and that Williamson’s two-third ownership

13   would have caused the value of his investment to be in the sum of $42,666,666,66.
14
            DATED this 6th day of June 2021,
15
                                 THE WESBROOKS LAW FIRM, P.L.L.C.
16

17
                                By: /s/Mark D. Wesbrooks
18
                                       Mark D. Wesbrooks, Esq.
19                                     Attorneys for Robert Williamson,
                                       Catherine Williamson, & Vicki’s Vodka, LLC
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                PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 20
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 1
                               CERTIFICATE OF SERVICE
 2          I, Mark D. Wesbrooks, hereby certify that on June 6, 2021, I filed through the
 3   Court’s ECF system and served either through the ECF system or by electronic mail the
     foregoing document described as: PLAINTIFFS PROPOSED FINDINGS OF FACT
 4   AND CONCLUSIONS OF LAW using the Court’s electronic filing system. A copy of
 5   the foregoing document(s) will be served via the Court’s electronic filing system on
     interested parties in this action, or by email/regular mail as follows:
 6

 7   2:13-cv-01019-JAD-EJY Notice has been electronically mailed to:
 8
     Tony L Abbatangelo (Terminated)    Tony@paulpaddalaw.com,
 9   arelicep@paulpaddalaw.com
10   Edward Randall Miley emiley@mileylaw.com
11
     Michael D. Mazur Michael.Mazur@roselbrand.com,
12   Mitchell.Billings@roselbrand.com
13

14
     /s/Mark Wesbrooks

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               PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW - 21
